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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                  (Northern Division)



STEVEN BELT
5821 Norham Drive                                  Class/Collective Action Claim
Alexandria, VA 22315
Resident of the City of Alexandria

LAURA COUNCIL
3234 Comly Road
Philadelphia, PA 19154                              Civil Action No.:
Resident of Philadelphia County

and

JAMES HARRIS
2115 Saranac Avenue                                Jury Trial Requested
Pittsburgh, PA 15216
Resident of Allegheny County

               Plaintiffs,

               v.

P.F. CHANG’S CHINA BISTRO, INC.
7676 E. Pinnacle Peak Road
Scottsdale, Arizona 85255

Serve: National Registered Agents, Inc.
       2405 York Road
       Suite 201
       Timonium, Maryland 21093


               Defendant.

            COLLECTIVE AND CLASS COMPLAINT FOR WAGES OWED

       STEVEN BELT, LAURA COUNCIL and JAMES HARRIS, Plaintiffs, by and through

their undersigned counsel and The Law Offices of Peter T. Nicholl, hereby submit their Complaint

against P.F. CHANG’S CHINA BISTRO, INC., Defendant, to recover unpaid wages, liquidated

damages, interest, reasonable attorneys’ fees and costs under Section 16(b) of the Federal Fair
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Labor Standards Act of 1938, as amended, 29 U.S.C. §§ 201, et seq. (hereinafter, “FLSA”); unpaid

wages, interest, reasonable attorneys’ fees and costs under the Pennsylvania Minimum Wage Act,

43 P.S. § 333.101, et seq. (hereinafter, “PMWA”); and unpaid wages, interest, reasonable

attorneys’ fees and costs under the Virginia Minimum Wage Act, Va. Code § 40.1-28.8, et seq.

(hereinafter, “VMWA”).

                               INTRODUCTION AND BACKGROUND

       P.F. Chang’s China Bistro, Inc. (“Defendant”) operates numerous food and beverage

establishments across the United States. Defendant hired Plaintiffs and other similarly situated

employees to work at these establishments. Plaintiffs and others similarly situated hold or held

the title of server. Their duties centered on preparing food and beverage items for service.

       Defendant paid Plaintiffs and other similarly situated employees an hourly “tip-credit”

wage. In addition to these wages, they also received tips. The combination of these payments did

not result in Plaintiffs and other servers being paid correctly. They were paid well below the

standard minimum wage. Their duties did not exempt them from the minimum wage requirements.

       Employers are only permitted to pay tipped employees below the minimum wage when

certain conditions are satisfied. These conditions are outlined within the tip-credit provisions of

the FLSA. These conditions are not satisfied if the untipped work related to an employee’s tipped

occupation exceeds twenty (20) percent of the employee’s workweek. They are also not satisfied

if an employee is required to perform work that is unrelated to his or her tipped occupation. Under

these circumstances, the employer must pay the full minimum wage. Both of these circumstances

exist in the present matter.

       Defendant required Plaintiffs and others similarly situated to perform untipped work,

related to their tipped occupation, in excess of twenty (20) percent of their workweek. Plaintiffs

and other similarly situated employees received tips for their work serving food, drinks and

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interacting with customers. However, Plaintiffs and others similarly situated were also required to

perform work that did not give them the ability to earn tips. This untipped work was performed

before, during and after their tip-producing tasks. They performed this work at the direction of

Defendant without being paid at an untipped wage.

        Plaintiffs and other similarly situated employees were also required to perform various

tasks related to sanitation, health and maintenance. They regularly performed this work for the

duration of their employment. They were entitled to at least the full minimum wage for the

performance of this work. However, Defendant failed to pay Plaintiffs and other servers the

appropriate wage rate.

        Defendant willfully violated the regulations that govern tipped employees. Plaintiffs’ and

other similarly situated employees’ tips and wages consistently failed to meet the minimum wage

for each hour of work. If an employee’s tips and wages combined do not equal the hourly minimum

wage, the employer is required to make up the difference. Defendant consistently failed to do so.

        Due to Defendant’s failure to pay Plaintiffs and other servers the required minimum wage,

they in turn were not paid correctly for overtime. Plaintiffs and other servers routinely worked

over forty (40) hours each week. They should have received “time and a half” their regular rate of

pay for each hour worked over forty (40). However, because their regular rate was not properly

calculated, neither were their overtime wages; they were not paid “time and a half” at the properly

calculated rate.

        Defendant willfully and intentionally evaded the payment of wages owed to Plaintiffs and

others similarly situated. Defendant’s unlawful pay policies caused Plaintiffs and other servers to

be denied the compensation they rightfully earned. Defendant’s policies are direct violations of

the tip credit, minimum wage and overtime pay requirements set forth by federal and state wage

laws.

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                                             THE PARTIES

         1.        Plaintiff Steven Belt (hereinafter, “Belt”) is an adult resident of Alexandria,

Virginia.

         2.        Plaintiff Laura Council (hereinafter, “Council”) is an adult resident of Philadelphia

County, Pennsylvania.

         3.        Plaintiff James Harris (hereinafter, “Harris”) is an adult resident of Alleghany

County, Pennsylvania.

         4.        Defendant P.F. Chang’s China Bistro (hereinafter, “Defendant”) is an incorporated

for-profit business.1

         5.        Defendant maintains its principal corporate office in Scottsdale, Arizona.

         6.        Defendant is engaged in the sale of food and beverage items.	  

         7.        Defendant operates various dining establishments across the United States and

Puerto Rico.

         8.        Defendant operates approximately two hundred and fifteen (215) establishments in

total.

         9.         Upon information and belief, the same unlawful practices described herein are

implemented at all of Defendant’s establishments.

         10.       Defendant is subject to the FLSA, the PMWA and the VMWA due to the nature of

its business; Defendant is primarily engaged in the sale of food and beverage items.




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  Any reference to Defendant shall include P.F. Chang’s China Bistro’s corporate officers and all those
empowered to act as agents of the corporation, either explicitly or implicitly, or who are designated as
agents under the doctrine of apparent agency. To the extent individual agents of P.F. Chang’s China Bistro
are responsible for any actions alleged in this Complaint, they are hereby incorporated by reference within
the term “Defendant.”

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        11.     Defendant is subject to the FLSA, the PMWA and the VMWA due to the amount

in revenues generated; Defendant’s annual dollar volume of business exceeds five hundred

thousand dollars ($500,000.00).

        12.     At all times relevant to this Complaint, Plaintiffs engaged in interstate commerce

based on the duties they performed as part of their employment with Defendant.

        13.     At all times throughout Plaintiffs’ employment, Defendant fell within the definition

of the term “employer” under the FLSA, 29 U.S.C. § 203(d), PMWA § 333.103(g) and VMWA §

40.1-28.9(a). Plaintiffs and others similarly situated worked as non-exempt employees for

Defendant.

        14.     From approximately May 1, 2017 until February 1, 2018, Plaintiff Belt was

employed with Defendant.

        15.     From approximately November 1, 2014 to the present, Plaintiff Council has been

employed with Defendant.

        16.     From approximately September 2015 to the present, Plaintiff Harris has been

employed with Defendant.

        17.     At all times relevant to this Complaint, Defendant controlled the administration of

its business and set employee schedules, including the schedules of Plaintiffs and others similarly

situated.

        18.     Defendant possessed and exercised the authority to determine the hours worked by

Plaintiffs and other similarly situated employees.

        19.     Defendant had the authority to control Plaintiffs’ assigned tasks and the tasks of

others similarly situated.

        20.     Defendant had the power and authority to change the nature of Plaintiffs’ and other

similarly situated employees’ duties.

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       21.     Defendant made all decisions relating to Plaintiffs’ and other similarly situated

employees’ rates and method of pay.

       22.     Plaintiffs and members of the putative class recognized Defendant’s authority and

obeyed Defendant’s instructions.

                                  JURISDICTION AND VENUE

       23.     Original jurisdiction in this Honorable Court is expressly provided by FLSA, 29

U.S.C. § 207, et seq. This Court also has subject matter jurisdiction under 28 U.S.C. § 1331, as

this matter presents a federal question.

       24.     Discretionary supplemental jurisdiction of Plaintiffs’ state law claims is provided

by 28 U.S.C. § 1367(a); the state law claims form part of the same case or controversy and derive

from a common nucleus of operative facts, on which Plaintiffs’ federal claims are based.

       25.     No reasons exist that would force this Honorable Court to decline jurisdiction; the

state law claims (i) do not raise novel or complex issues of state law, (ii) do not substantially

predominate the claims over which this Honorable Court has original jurisdiction and (iii) no

exceptional circumstances exist that would constitute a compelling reason for declining

jurisdiction, thereby satisfying 28 U.S.C. 1367(c).

       26.     This Honorable Court has personal jurisdiction over Defendant; Defendant

conducts sufficient business within the forum state so as to constitute a submission to its laws.

       27.     Pursuant to 28 U.S.C. § 1391 (c) and 28 U.S.C. § 1391 (b)(1), venue is appropriate;

Defendant regularly conducts business within the state of Maryland.

                       FACTUAL ALLEGATIONS FOR ALL CLAIMS

       28.     Defendant operates hundreds of dining establishments throughout the United

States. Defendant staffs numerous employees to assist with the operation of its establishments.




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       29.      Defendant hired Plaintiffs and other similarly situated employees to perform

various food and beverage service tasks.

       30.      Plaintiffs and others similarly situated hold or held the title of server. Their duties

were typical of those associated with their role. Their duties primarily consisted of serving food

and drinks to patrons. They had to wait on tables and describe daily specials. They were required

to regularly check on patrons throughout their meal. At the end of a customer’s meal, they were

also required to collect payment.

       31.      In exchange for their work, Plaintiffs and others similarly situated typically

received tips from patrons. However, they also performed work that did not give them the ability

to earn tips. This work did not involve interacting with, nor serving food and beverages to

customers.

       32.      Plaintiffs and other servers had to perform various preparatory tasks. They had to

prepare and affix labels to sauces, prepare the drink machines and ensure the sugar caddies were

full. They also spent a considerable amount of time polishing dishes and were constantly required

to roll silverware throughout their shifts.

       33.      Plaintiffs and other servers also had to perform tasks relating to sanitation, health

and maintenance. Sanitizing the kitchen and dining areas are common examples. They also had

to bag and take out the trash.

       34.      At the beginning and end of their shifts, Plaintiffs and others similarly situated also

had to perform various cleaning tasks. This consisted of cleaning tables and chairs, dusting,

sweeping and polishing. They were also expected to perform routine maintenance work throughout

their day.




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       35.     For the performance of this work, Plaintiffs and others similarly situated did not

have the opportunity to earn tips. These tasks were often performed out of the customers’ sight or

at times customers were not present.

       36.     At all times relevant, Defendant required Plaintiffs and other servers to perform all

of the tasks described above, regardless of whether these tasks gave them the ability to earn tips.

       37.     Plaintiffs and other similarly situated employees performed their tasks to the extent

required by Defendant.

       38.     For the aforementioned work, from approximately May 2017 to February 2018,

Plaintiff Belt was classified as a tipped employee. In addition to tips, he received bi-weekly

payments reflecting an hourly tip-credit wage of two dollars and thirty-five cents ($2.35) per hour.

       39.     Plaintiff Council was also classified as a tipped employee. From approximately

November 2014 to the present, she received bi-weekly payments reflecting an hourly tip-credit

wage of two dollars and thirty-five cents ($2.35) per hour, as well as tips.

       40.     Plaintiff Harris was also classified as a tipped employee. From September 1, 2015

until the present, he received bi-weekly payments reflecting an hourly tip credit rate of two dollars

and thirty-five cents ($2.35) per hour, plus tips.

       41.     For the entirety of his employment, Plaintiff Belt worked at the P.F. Chang’s in

McLean, Virginia.

       42.     Plaintiff Council was employed at the P.F. Chang’s in Warrington, Pennsylvania.

She also worked at the P.F. Chang’s in Princeton, New Jersey.

       43.     For the entirety of his employment, Plaintiff Harris worked at the P.F. Chang’s in

Pittsburgh, Pennsylvania.

       44.     Plaintiffs and others similarly situated were routinely scheduled to work between

twenty (20) and fifty (50) hours each week. They typically worked anywhere from two (2) to seven

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(7) shifts per week. Each shift lasted approximately six (6) to ten (10) hours. The length of each

shift varied based on how busy the restaurant was and the number of staff members scheduled.

        45.      During each shift, Plaintiffs and others similarly situated spent approximately thirty

(30) to fifty (50) percent of their time performing work that did not entail interacting with

customers. When performing this work, they did not have the opportunity to earn tips. Common

examples of this work included:2

                 •   Setting up, filling, breaking down and cleaning the lemonade machine;

                 •   Preparing and affixing labels to various sauces;

                 •   Replenishing the sugar caddies;

                 •   Ensuring that chopsticks were placed on each table;

                 •   Running cookware, garnishes and sauces from the back of the house to the

                     front;

                 •   Sweeping the restaurant floor;

                 •   Bagging and taking out the trash;

                 •   Collecting and organizing dirty dishes;

                 •   Loading and operating the dish washing machine;

                 •   Retrieving dishes from the dishwashing rack and handing them to the cooks;

                 •   Rolling silverware;

                 •   Polishing silverware, dishes and glasses;

                 •   Organizing silverware, dishes and glasses for distribution;

                 •   Dusting, cleaning and polishing tables, booths and chairs;
                 	  




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 This list is non-exhaustive; Plaintiffs and others similarly situated routinely performed other tasks that did
not give them the opportunity to earn tips.
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       46.     Plaintiffs and others similarly situated regularly performed these untipped tasks

throughout their shifts. During a given shift, they would spend approximately two (2) to four (4)

hours performing this untipped work.

       47.     Much of this untipped work was completed while Plaintiffs and others similarly

situated were “clocked in” as tipped employees. Thus, they were only paid their tip-credit rate for

their work; they failed to receive the full minimum wage.

       48.     Defendant used a standard point-of-sale system to record the hours worked by both

its tipped and non-tipped employees. Through this system, Defendant could have created different

“clock in” codes that would have allowed tipped employees to clock in at the full minimum wage

rate when performing non-tipped work, while clocking in at a subminimum, tip-credit wage rate

when serving customers.

       49.     Defendant failed to utilize this system to account for the times when Plaintiffs and

others similarly situated performed non-tipped related tasks. At all times that Plaintiffs and others

similarly situated were on-the-clock, the tip-credit wage rate was enforced.

       50.     Despite the nature of their work, Plaintiffs were treated as tipped employees, even

when they were assigned to perform tasks that did not give them the opportunity to earn tips.

       51.     Defendant’s unlawful pay practices caused Plaintiffs and others similarly situated

to be denied the wages they rightfully earned. They were consistently paid below the minimum

wage for the untipped work they performed.

       52.     There is no bona fide dispute that Plaintiffs and other similarly situated employees

are owed at least the minimum wage during periods when they spent more than twenty (20) percent

of their time performing untipped work.

       53.     At no time did Plaintiffs’ and other similarly situated employees’ duties include

work that would exempt them from federal and state minimum wage laws.

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       54.     Defendant was well aware of the untipped work being performed by Plaintiffs and

others similarly situated.

       55.     Defendant knew that Plaintiffs and other similarly situated employees customarily

spent more than twenty (20) percent of their time performing untipped work.

       56.     In bad faith, Defendant withheld the minimum wages owed to Plaintiffs and others

similarly situated.

       57.     As a direct result of not receiving the required minimum wage for each hour of

work, Plaintiffs and other similarly situated employees were also not paid correctly for overtime.

During weeks when they worked over forty (40) hours, they were never paid at time and a half the

rate that their regular hourly wage should have been.

       58.     Thus, on behalf of themselves and all those similarly situated, Plaintiffs seek their

wages owed and other available relief through this Complaint.

                       FLSA COLLECTIVE ACTION ALLEGATIONS

       59.     Plaintiffs and other similarly situated employees work or worked as servers for

Defendant. Defendant employs servers across the United States.

       60.     Upon information and belief, these similarly situated employees were subject to the

same unlawful practices described within this Complaint; Defendant paid these similarly situated

employees a tip-credit rate when they performed untipped work. This practice was in violation of

the FLSA.

       61.     The FLSA requires employers to compensate non-exempt employees such as

Plaintiffs and others similarly situated with at least the minimum wage for each hour of work.

       62.     Defendant knew, or should have known, that Plaintiffs and those similarly situated

were entitled to at least the minimum wage for each hour of work.




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        63.     The FLSA requires that the non-tipped work related to a tipped employee’s

occupation cannot exceed twenty (20) percent of his or her time worked. If the non-tipped work

exceeds twenty (20) percent, the tipped employee must receive the full minimum wage.

        64.     Defendant knew, or should have known, that Plaintiffs and other similarly situated

tipped employees were performing non-tipped work related to their tipped occupation. This work

regularly exceeded twenty (20) percent of their time worked. Defendant failed to properly pay the

full minimum wage rate for this work. As a direct result, Plaintiffs and other servers also failed to

receive proper overtime compensation. During weeks when they worked over forty (40) hours,

they were not paid “time and a half” at the rate their regular wage should have been.

        65.     Pursuant to the FLSA, Plaintiffs commence this collective action on behalf of

themselves and those similarly situated for the payment of minimum and overtime wages owed

for all hours worked. Plaintiffs make these same demands on behalf of all members of the

collective class.

        66.     Plaintiffs consent to be Party Plaintiffs in this matter; Plaintiffs’ consent forms are

attached to this Complaint as Exhibits 1 – 3.

        67.     It is likely that other individuals will join Plaintiffs during the litigation of this

matter and file written consents to “opt in” to this collective action.

        68.     There are numerous similarly situated current and former employees of Defendant

that have been harmed by Defendant’s common scheme to underpay its employees in violation of

the FLSA.

        69.     These similarly situated persons are known to Defendant and/or are readily

identifiable through Defendant’s records.

        70.     Many of these similarly situated employees would benefit from the issuance of

court-supervised notice, granting them the opportunity to join this lawsuit.

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       71.     Upon information and belief, others similarly situated will choose to join Plaintiffs

in this action and opt in to this lawsuit to recover unpaid wages and other available relief.

           CLASS ACTION ALLEGATIONS UNDER PENNSYLVANIA WAGE LAWS

       72.     Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on behalf of themselves and other employees, current and former, that served as servers

for Defendant and were subject to the following practices and policies: denial of minimum and

overtime wages under the PMWA for hours worked over forty (40) in a single workweek.

       73.     Plaintiffs are members of the proposed class they seek to represent.

       74.     The claims alleged by Plaintiffs are typical of the claims of the proposed class

members.

       75.     The potential members of the class are sufficiently numerous so that joinder of all

class members is impractical.

       76.     There are questions of law and fact common to the class that predominate over any

questions exclusive to the individual class members.

       77.     Counsel for the proposed class is qualified and experienced in litigating class

actions and other complex litigation matters; furthermore, counsel is capable of providing adequate

representation for all members of the proposed class.

       78.     A class action is superior to other available methods for the fair and efficient

adjudication of this case and will serve to promote judicial economy to the benefit of this Court,

as well as the involved parties.

               CLASS ACTION ALLEGATIONS UNDER VIRGINIA WAGE LAWS

       79.     Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on behalf of themselves and other employees, current and former, that served as servers




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for Defendant and were subject to the following practices and policies: denial of minimum and

overtime wages under the VMWA for hours worked over forty (40) in a single workweek.

       80.     Plaintiffs are members of the proposed class they seek to represent.

       81.     The claims alleged by Plaintiffs are typical of the claims of the proposed class

members.

       82.     The potential members of the class are sufficiently numerous enough so that joinder

of all class members is impractical.

       83.     There are questions of law and fact common to the class that predominate over any

questions exclusive to the individual class members.

       84.     Counsel for the proposed class is qualified and experienced in litigating class

actions and other complex litigation matters; furthermore, counsel is capable of providing adequate

representation for all members of the proposed class.

       85.     A class action is superior to other available methods for the fair and efficient

adjudication of this case and will serve to promote judicial economy to the benefit of this Court,

as well as the involved parties.

                          CAUSES OF ACTION AND VIOLATIONS OF LAW

                         Against Defendant P.F. Chang’s China Bistro, Inc.

     Count I. Violation of the FLSA: Failure to Pay the Minimum Wage to Plaintiffs and all
Members of the Collective Class

       86.     Plaintiffs hereby fully incorporate in this Count all allegations contained within

Plaintiffs’ Complaint.

       87.     Pursuant to the Fair Labor Standards Act, 29 U.S.C. § 206, each employer shall pay

wages at a rate that is no less than the federal minimum wage, currently amounting to seven dollars

and twenty-five cents ($7.25) per hour.



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        88.     Plaintiffs have not received compensation from Defendant reflecting the prescribed

minimum wage rate for all hours worked for Defendant; rather, Defendant unlawfully failed to

ensure that Plaintiffs received at least the minimum wage rate for each hour of work.

        89.     Defendant willfully and intentionally did not compensate Plaintiffs for the total

minimum amount of wages they were owed by improperly applying the tip credit provision of the

FLSA.

        90.     There is no bona fide dispute that Plaintiffs are not exempt from the minimum wage

provisions of the FLSA for the work they performed for Defendant.

        91.     Under the FLSA, Plaintiffs are entitled to additional wages from Defendant for all

hours worked at a rate of pay no less than the federal minimum wage.

     Count II. Violation of the FLSA: Failure to Pay Overtime Wages to Plaintiffs and all
Members of the Collective Class

        92.     Plaintiffs hereby fully incorporate in this Count all allegations contained within

Plaintiffs’ Complaint.

        93.     Plaintiffs are entitled to overtime under 29 U.S.C. § 207(a), which provides that

employers must compensate their employees for hours worked in excess of forty (40) in a

workweek at a rate of no less than one and one-half (1.5) times the regular rate at which they are

employed.

        94.     As described above, Plaintiffs have not received from Defendant compensation

reflecting the properly calculated overtime wage rate for hours worked in excess of forty (40) in a

workweek.

        95.     Defendant willfully and intentionally failed to compensate Plaintiffs properly for

the overtime wages they are owed.

        96.     There is no bona fide dispute that Plaintiffs are owed overtime wages for work

performed for Defendant.
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        97.     All members of the putative collective class ( “collective”) are similarly situated to

Plaintiffs and have suffered the same and/or similar harm resulting from the same policies and

practices complained of in this Complaint.

        98.     Under the FLSA, Plaintiffs and all members of the collective are entitled to

additional wages from Defendant to properly compensate them for hours worked in a workweek

in excess of forty (40) at a rate of one and one-half (1.5) times Plaintiffs’ and each member of the

collective’s regular hourly wage rate. 	  

        Count III. Violation of PMWA: Failure to Pay Minimum Wages

        99.     Plaintiffs hereby fully incorporate in this Count all allegations contained within

Plaintiffs’ Complaint.

        100.   Pursuant to the Pennsylvania Minimum Wage Act, § 333.104(a), each employer

shall pay minimum wages in accordance with the FLSA.

        101.   Plaintiffs have not received compensation from Defendant reflecting the prescribed

minimum wage rate for all hours worked for Defendant; rather, Defendant unlawfully failed to

ensure that Plaintiffs received at least the minimum wage rate for each hour of work.

        102.   Defendant willfully and intentionally did not compensate Plaintiffs for the total

minimum amount of wages they were owed by improperly applying the tip credit provision of the

FLSA.

        103.   There is no bona fide dispute that Plaintiffs are not exempt from the minimum wage

provisions of the PWMA for the work they performed for Defendant.

        104.   Under the PMWA, Plaintiffs are entitled to additional wages from Defendant for

all hours worked at a rate of pay no less than the federal minimum wage.

        Count IV. Violation of PMWA: Failure to Pay Overtime Wages




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        105.   Plaintiffs hereby fully incorporate in this Count all allegations contained within

Plaintiffs’ Complaint.

        106.   Pursuant to the Pennsylvania Minimum Wage Act, § 333.104(c), each employer

shall pay an overtime wage of at least one and one half (1.5) times the regular hourly rate for each

hour over forty (40) that an employee works during one (1) workweek.

        107.   Plaintiffs have not received compensation from Defendant reflecting the prescribed

overtime wage rate for hours worked in excess of forty (40) in a workweek. Defendant unlawfully

failed to compensate Plaintiffs for these additional hours.

        108.   Defendant willfully and intentionally failed to compensate Plaintiffs for the

overtime hours they worked.

        109.   There is no bona fide dispute that Plaintiffs are owed overtime wages for the work

they performed for Defendant.

        110.   Under the PMWA, Plaintiffs are entitled to additional wages from Defendant for

all overtime hours worked at a rate of one and one-half (1.5) times Plaintiffs’ regular hourly wage

rate.

        Count V. Violation of VMWA: Failure to Pay Minimum Wages

        111.   Plaintiffs hereby fully incorporate in this Count all allegations contained within

Plaintiffs’ Complaint.

        112.   Pursuant to the Virginia Minimum Wage Act, § 40.1-28.10, each employer shall

pay the required minimum and overtime wages in accordance with the FLSA.

        113.   Plaintiffs have not received compensation from Defendant reflecting the prescribed

minimum wage rate for all hours worked for Defendant; rather, Defendant unlawfully failed to

ensure that Plaintiffs received at least the minimum wage rate for each hour of work.




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         114.   Plaintiffs have also not received compensation from Defendant reflecting the

prescribed overtime wage rate for hours worked in excess of forty (40) in a workweek. Defendant

unlawfully failed to compensate Plaintiffs for these additional hours.

         115.   Defendant willfully and intentionally did not compensate Plaintiffs for the total

minimum amount and overtime wages they were owed by improperly applying the tip credit

provision of the FLSA.

         116.   There is no bona fide dispute that Plaintiffs are owed minimum and overtime wages

for the work they performed for Defendant.

         117.   Under the VMWA, Plaintiffs	  are	  entitled	  to	  additional	  wages	  from	  Defendant	  for	  

all	  hours	  worked.

                                            PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, on behalf of themselves and others similarly situated, pray for

the following relief:

         a)   In accordance with 29 U.S.C. § 216(b), designation of this action as a collective action
              on behalf of Plaintiffs and those similarly situated;

         b)   In accordance with Rule 23 of the Federal Rules of Civil Procedure, designation of this
              action as a Pennsylvania state law class on behalf of Plaintiffs and all members of the
              proposed class;

         c)   In accordance with Rule 23 of the Federal Rules of Civil Procedure, designation of this
              action as a Virginia state law class on behalf of Plaintiffs and all members of the
              proposed class;

         d)   Ordering Defendant to disclose in computer format, or in print if no computer readable
              format is available, the names, addresses and emails of all those individuals who are
              similarly situated and permitting Plaintiffs to send notice of this action to all those
              similarly situated individuals;

         e)   Designating the named Plaintiffs to act as class representatives on behalf of all similarly
              situated employees for both the FLSA Collective class and the Pennsylvania and Virginia
              state law classes;



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        f)   Judgment against Defendant for its failure to pay Plaintiffs, those similarly situated and
             all those appropriately joined to this matter in accordance with the standards set forth by
             the FLSA;

        g)   Judgement against Defendant for its failure to pay Plaintiffs, those similarly situated and
             all those appropriately joined in accordance with the standards set forth by the PMWA;

        h)   Judgement against Defendant for its failure to pay Plaintiffs, those similarly situated and
             all those appropriately joined in accordance with the standards set forth by the VMWA;

        i)   Judgment against Defendant and classifying its conduct as willful and not in good faith;

        j)   An award against Defendant for the amount of unpaid minimum wages owed to
             Plaintiffs, members of the Collective, members of the PMWA class, members of the
             VMWA class and all those appropriately joined to this matter;

        k)   An award of liquidated or trebled damages equal to, or double, the total amounts of
             unpaid wages owed to Plaintiffs, members of the collective, members of the classes and
             all those appropriately joined to this matter, whichever is deemed just and equitable by
             this Honorable Court;

        l)   An award of reasonable attorneys’ fees and all costs, plus pre-judgment and post-
             judgment interest, to be satisfied in full by Defendant;

        m)   Leave to add additional Plaintiffs to all counts alleged herein by motion, through the
             filing of written consent forms, or any other method approved by this Honorable Court;
             and

        n)   All further relief deemed just and equitable by this Honorable Court.

                                 REQUEST FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiffs request that a jury

of their peers hear and decide all possible claims brought on behalf of Plaintiffs and others similarly

situated.

                                                       Respectfully submitted,

                                                       /s/ Benjamin L. Davis, III
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